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                         UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF FLORIDA
                               TAMPA DIVISION

JAMAAR HAYES,
    Movant,

v.                                                      Case No. 8:21-cv-539-SDM-TGW

UNITED STATES OF AMERICA,
    Respondent.

           UNITED STATES’ RESPONSE IN OPPOSITION TO HAYES’S
             AMENDED MOTION PURSUANT TO 28 U.S.C. § 2255

          The United States opposes for the following reasons Jamaar Hayes’s amended

motion to vacate, set aside, or correct his sentence. Civ. Doc. 8. 1

     I.   STATEMENT OF THE CASE

          A. The Charge and Sentencing

          A federal grand jury in the Middle District of Florida returned an indictment

charging Hayes with one count of being a felon in possession of a firearm, in

violation of 18 U.S.C. §§ 922(g)(1) and 924(e). Doc. 1. He agreed in a plea agreement

with the United States to plead guilty to that charge. Docs. 22, 26, 37.

          In preparation for sentencing, the United States Probation Office prepared a

Presentence Investigation Report (“PSR”). In the PSR, the probation office stated

that Hayes had a base offense level of 20 pursuant to USSG §2K2.1(a)(4)(A). PSR

¶ 15. To that, the probation office added four levels pursuant to USSG



1
 References to filings in criminal case number 8:18-cr-77-SDM-TGW are cited as “Doc. [document
number].” References to filings in this civil case are cited as “Civ. Doc. [document number].”
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§2K2.1(b)(4)(B) because his firearm had an obliterated serial number. PSR ¶ 16. The

probation office also said that Hayes qualified as an armed career criminal under

USSG §4B1.4 because he had prior felony convictions for (1) delivery of cocaine; (2)

delivery of a controlled substance within 1000 feet of a church; and (3) delivery of

cocaine within 1000 feet of a school. PSR ¶ 21. That raised his overall offense level to

33. PSR ¶ 22. The probation office subtracted three levels from that pursuant to

USSG §3E1.1 because Hayes had timely accepted responsibility for his offense, PSR

¶ 24, which left Hayes with a total offense level of 30, PSR ¶ 25. With a criminal-

history category of IV, PSR ¶ 54, Hayes would have had an advisory range of

imprisonment of 135 to 168 months, PSR ¶ 97, but, because he qualified as an armed

career criminal, he had a statutory minimum sentence of 15 years’ imprisonment

under 18 U.S.C. § 924(e), PSR ¶ 96. Therefore, Hayes faced an advisory term of

imprisonment of 180 months. PSR ¶ 97.

       Hayes submitted a sentencing memorandum arguing, in part, that Hayes’s

previous convictions did not qualify as “serious drug offenses” because: (1) “the

statute of conviction, Fla. Stat. § 893.13, is a non-generic drug offense that does not

require proof that the defendant knew the illicit nature of the substance[;]” and (2)

“possession with intent to deliver or delivery may be committed without the

defendant receiving remuneration.” 2 Doc. 33 at 5–10; see also PSR Addendum. The


2
 Hayes acknowledged in his sentencing memorandum that his “mens rea” argument was contrary
to Eleventh Circuit precedent. Doc. 33 at 5. During Hayes’s later sentencing hearing, his counsel
referred to the two arguments as the “mens rea” and “remuneration” arguments. Doc. 56 at 8.



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memorandum also asked this Court to impose a sentence of 180 months’

imprisonment. Doc. 33 at 2, 14.

        At Hayes’s final sentencing hearing, 3 his counsel objected to the narratives set

forth in the PSR describing Hayes’s prior drug convictions for the purpose of

determining whether those convictions qualified as serious drug offenses for purposes

of the Armed Career Criminal Act, 18 U.S.C. § 924(e), (the “ACCA”). Doc. 56 at 4–

5. She argued that those narratives were not based on appropriate Shepard

documents. 4 Id. at 4–5. In response, the United States asserted that this Court could

rely on the narratives not to determine whether Hayes qualified as an armed career

criminal but as information relevant to a determination of a reasonable sentence for

him. Id. at 5–6. This Court overruled the objection. Id. at 6.

        Afterward, Hayes’s counsel further moved to incorporate the “mens rea” and

“remuneration” arguments raised in Hayes’s sentencing memorandum. Doc. 56 at

7–8. Hayes’s counsel again acknowledged that Eleventh Circuit precedent refuted

Hayes’s “mens rea” challenge to his armed-career-criminal designation, explaining




3
 When the parties initially convened for Hayes’s sentencing hearing, Hayes’s counsel advised this
Court that she had been unable to determine from the judgment the nature of one of Hayes’s prior
Florida drug convictions. Doc. 55 at 3. She asserted that the judgment showed that Hayes had been
charged with one count of distribution of a controlled substance within 1000 feet of a church,
possession of cocaine with intent to sell it, and possession of cannabis with intent to sell it, but it was
unclear as to which of those charges Hayes had been convicted. Doc. 55 at 3l; see Doc. 40 at 44. At
the request of Hayes and the United States, this Court continued the hearing. Doc. 55 at 3–4.
4
 In Shepard v. United States, 125 S.Ct. 1254, 1263 (2005), the Supreme Court held that, in
determining whether a disputed prior conviction for a non-generic offense is a predicate felony for
purposes of the ACCA, a district court may only consider the statute of conviction, charging
documents, any plea agreement or plea colloquy, and similar judicial records. See 125 S.Ct. at 1263.


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that she wanted to preserve the argument for purposes of appeal. Doc. 56 at 7–9.

This Court acknowledged the arguments but overruled Hayes’s objections. Id. at 8–9.

      This Court subsequently determined that Hayes had a guidelines offense level

of 30 and a criminal-history category of IV. Doc. 56 at 10–11. Hayes’s counsel asked

this Court to impose the guidelines sentence of 15 years’ imprisonment and discussed

the 18 U.S.C. § 3553(a) factors in support of that request. Id. at 11–13. Hayes also

addressed this Court, arguing that he should not be subjected to a longer sentence

based on prior convictions for which he had already served prison time. Id. at 14–15.

This Court sentenced Hayes as an armed career criminal to a term of 180 months’

imprisonment, to be followed by five years’ supervised release. Doc. 42; Doc. 56 at

17–18.

      B.   The Appeal

      Hayes appealed this Court’s conviction and sentence by raising four claims.

Doc. 46. He argued this Court plainly erred by: 1) accepting his guilty plea; 2)

determining that he qualified as an armed career criminal based on his prior Florida

drug convictions for offenses committed on different occasions; 3) determining his

ACCA status based on facts proven at sentencing by a preponderance of the

evidence; and lastly, 4) determining that his prior Florida drug-distribution

convictions constituted serious drug offenses despite lacking a mens rea element.

United States v. Hayes, No. 18-13435-DD, 2018 WL 6248419, at *7–10 (11th Cir. Nov.

28, 2018) (Appellant’s Initial Brief). The Eleventh Circuit rejected each argument

and affirmed Hayes’s conviction and sentence. United States v. Hayes, 779 F. App’x

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574 (11th Cir. 2019) (unpublished). Hayes then sought certiorari, which the Supreme

Court denied on March 2, 2020. United States v. Hayes, 140 S. Ct. 1271 (2020).

       C. The Motions to Vacate, Set Aside, or Correct Sentence

       In February 2021, Hayes timely filed his initial motion under 28 U.S.C.

§ 2255. 5 Civ. Doc. 1. At Ground One, Hayes argued that this Court violated his Due

Process rights by sentencing him as an armed career criminal. Civ. Doc. 1 at 8–10.

He asserted that his prior Florida drug convictions in violation of Fla. Stat. § 893.13

did not qualify as valid predicate offenses because they were strict liability offenses

that lacked the requisite mens rea as to the illicit nature of the distributed substance.

Id. Hayes claimed in Ground Two that he received ineffective assistance because his

counsel failed to raise the argument presented in Ground One. Civ. Doc. 1 at 10–11.

The United States responded in opposition on May 20, 2021. Civ. Doc. 3.

       On May 9, 2022, upon securing this Court’s permission, Civ. Doc. 7 at 2,

Hayes filed an amended section 2255 motion to vacate that includes original

Grounds One and Two (redesignated as Grounds One and Four, respectively) and

adds two new grounds. At new Ground Two, Hayes argues that he is “innocent of

[the] sentence imposed under § 924(e)” because he does not have at least three

qualifying convictions committed on different occasions and, at Ground Three, he


5
 Although Hayes dated his original motion February 24, prison authorities stamped the mailing
envelope that accompanies the motion received on February 22, 2021. Civ. Docs. 1 at 7 and 1-1 at 2.
Thus, Hayes timely filed that section 2255 motion within one year of his conviction becoming final.
Washington v. United States, 243 F.3d 1299, 1301 (11th Cir. 2001) (pleadings filed by an incarcerated
movant are deemed filed on the date they were placed into the prison’s official mail system; if
prisoner timely petitions for certiorari review, section 2255 limitation period “begins to run when the
Supreme Court denies certiorari or issues a decision on the merits”).


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argues that Due Process and the rule of lenity demands his sentence be vacated

because the “occasion clause” of § 924(e) is unconstitutionally vague. Civ. Doc. 8 at

5-6. Both new grounds cite as support the recent Supreme Court decision in Wooden

v. United States, 142 S.Ct. 1063 (2022).

      Hayes has also now recently moved for permission to further expand his

amended section 2255 motion, in light of the recent decision in United States v.

Jackson, 36 F.4th 1294 (11th Cir. 2022), mandate withheld, No. 21-13963 (11th Cir.

June 13, 2022). Civ. Doc. 9. Upon consideration of Hayes’s motion and the United

States’ related motion, Civ. Doc. 10, this Court denied Hayes’s request to expand his

second amended motion but directed the United States to address whether Jackson

supports a claim in Hayes’s amended section 2255 motion. Civ. Doc. 11.

      As demonstrated below, this Court should deny all four claims raised in

Hayes’s amended section 2255 motion. Binding Eleventh Circuit (and, now,

Supreme Court) precedent precludes relief. Because Hayes has now raised different

grounds for relief at different times, the United States generally sets forth below the

relevant law applicable to the pending section 2255 motion and then, when

necessary, addresses each ground in the order raised by Hayes.

  II. APPLICABLE LAW

      A. Timeliness

      Hayes’s judgment of conviction became final on March 2, 2020, when his

petition for certiorari review was denied. Doc. 65. Because Hayes filed his original

section 2255 motion in February 2021, that motion was timely filed as to the original

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Ground One and Ground Two (now Grounds One and Four) contained therein.

Hayes’s amended section 2255 motion was dated May 2 but bears a mailroom

“Received” date of May 3, and was filed May 9, 2022, 6 all dates more than two years

after his conviction became final. Grounds Two and Three of the amended section

2255 motion were therefore filed well past the one-year period of limitations under

section 28 U.S.C. § 2255(f)(1). Moreover, none of the exceptions under subsections

(f)(2)–(f)(4) apply and, as Grounds Two and Three state new claims not raised in the

original 2255 motion, Fed. R. Civ. P. 15(c) does not allow Hayes to timely amend

his motion to add the claims. Grounds Two and Three are therefore untimely.

       B.    Burden of Proof

       In general, on collateral review the movant bears the burden of proof and

persuasion on each and every aspect of his claim, Beeman v. United States, 871 F.3d

1215, 1221–25 (11th Cir. 2017) (collecting cases), which is “a significantly higher

hurdle than would exist on direct appeal” under plain error review, see United States v.

Frady, 102 S.Ct. 1584, 1587 (1982). Accordingly, if this Court “cannot tell one way

or the other” whether the claim is valid, then the movant has failed to carry his

burden. Beeman, 871 F.3d at 1225.

       C. Cognizability

       All four grounds raised in Hayes’s amended section 2255 motion are

cognizable grounds for relief because they allege that his sentence was imposed in


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 See Washington, 243 F.3d at 1301 (pleadings filed by an incarcerated movant deemed filed on the
date placed into the prison’s official mail system). The operative date of filing was May 3, 2022.


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violation of the Constitution or laws of the United States. See 28 U.S.C. § 2255(a);

e.g., Lynn v. United States, 365 F.3d 1225, 1234 n.17 (11th Cir. 2004) (ineffective

assistance claims should be decided in section 2255 proceedings).

      D. Procedural Default

      “[A] collateral challenge may not do service for an appeal.” Frady, 102 S.Ct. at

1593. “Once the defendant’s chance to appeal has been waived or exhausted,” courts

“are entitled to presume that [the defendant] stands fairly and finally convicted.” Id.

Thus, claims previously available but not raised in a prior proceeding are

procedurally defaulted and ordinarily barred from consideration on collateral review.

Bousley v. United States, 118 S.Ct. 1604, 1610–1612 (1998); McCoy v. United States, 266

F.3d 1245, 1258 (11th Cir. 2001). Just as the movant generally bears the burden of

proof, a movant who has procedurally defaulted a claim by failing to raise it in an

earlier proceeding bears the burden of demonstrating either cause and actual

prejudice or actual innocence before obtaining review. Bousley, 118 S.Ct. at 1610–

1611; see also McKay v. United States, 657 F.3d 1190, 1196 (11th Cir. 2011).

             1. Cause and prejudice

      To show cause for not raising a claim in an earlier proceeding, Hayes must

show that “some external impediment” prevented counsel from constructing or

raising the claim. See High v. Head, 209 F.3d 1257, 1262-63 (11th Cir. 2000). The

futility of raising a claim does not constitute sufficient cause to excuse the default.

Bousley, 118 S.Ct. at 1611; Jones v. United States, 153 F.3d 1305, 1307-08 (11th Cir.




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1998) (examining defaulted claim based on Supreme Court’s decision in Bailey v.

United States, 116 S.Ct. 501 (1995), that “use” of a firearm in 18 U.S.C. § 924(c)

required proof of active employment).

      A movant can establish cause in some circumstances by showing that a

procedural default was caused by constitutionally ineffective assistance of counsel

under Strickland v. Washington, 104 S.Ct. 2052, 2061 (1984). See United States v.

Nyhuis, 211 F.3d 1340, 1344 (11th Cir. 2000). To succeed, however, the movant

must fully allege and prove deficient performance that worked to his actual and

substantial disadvantage. See Reece v. United States, 119 F.3d 1462, 1465-68 (11th Cir.

1997). In other words, “the claim of ineffective assistance must have merit.” Nyhuis,

211 F.3d at 1344. Further, that an issue is reasonably available—and therefore, not

sufficiently novel to constitute cause—does not mean that counsel’s failure to raise it

is constitutionally deficient performance. See Pitts, 923 F.2d 1568, 1572–74 (11th Cir.

1991) (even though claim based on Batson v. Kentucky, 106 S.Ct. 1712 (1986), was

reasonably available to counsel at trial in 1985, failure to anticipate Batson decision

and raise that claim was not ineffective assistance of counsel for purposes of cause

and prejudice analysis).

             2. Actual innocence

      Hayes may avoid a procedural bar if he can show, by clear and convincing

evidence, that the alleged error “has probably resulted in the conviction of one who

is actually innocent.” Bousley, 118 S.Ct. at 1612 (quoting Murray v. Carrier, 106 S.Ct.




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 2639, 2641 (1986)); Jones, 153 F.3d at 1308. “[A]ctual innocence means factual

 innocence, not mere legal insufficiency.” Bousley, 118 S.Ct. at 1612 (internal

 quotations and citation omitted).

        E.   Relitigation Bar

        “Once a matter has been decided adversely to a defendant on direct appeal, it

 cannot be re-litigated in a collateral attack under section 2255.” Nyhuis, 211 F.3d at

 1343 (quoting United States v. Natelli, 553 F.2d 5, 7 (2d Cir. 1977)); see also Stoufflet v.

 United States, 757 F.3d 1236, 1240–42 (11th Cir. 2014) (analyzing prior resolution

 and contrasting the law-of-the-case doctrine, which regulates judicial affairs before

 final judgment); Olmstead v. United States, 55 F.3d 316, 319 (7th Cir. 1995) (section

 2255 motion is “neither a recapitulation of nor a substitute” for direct appeal; absent

 changed circumstances of fact or law, court will not reconsider an issue already

 decided on direct appeal).

        F.   Ineffective Assistance of Counsel

        To succeed on an ineffective assistance of counsel claim, Hayes must meet a

 stringent, two-prong test. First, Hayes must show that counsel committed “errors so

 serious that counsel was not functioning as the ‘counsel’ guaranteed … by the Sixth

 Amendment.” Strickland, 104 S.Ct. at 2064. Second, he must prove resulting

 prejudice. Id. If Hayes fails to establish either prong, his claim fails. See Maharaj v.

 Sec’y, Dep’t of Corr., 432 F.3d 1292, 1319 (11th Cir. 2005). Strickland sets a “high bar”

 for ineffective assistance claims, and surmounting it “is never an easy task.”



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 Harrington v. Richter, 131 S.Ct. 770, 788 (2011) (internal quotation marks and citation

 omitted).

     III. ARGUMENT—INDIVIDUAL GROUNDS

        A. Ground One and Ground Four: Prior resolution bars Hayes’s claims.
           In any event, they lack merit.

        Hayes asserts in Ground One that this Court violated his Due Process rights

 by sentencing him as an armed career criminal because his prior Florida drug

 convictions did not qualify as valid predicate offenses, in that they were strict liability

 offenses that lacked the requisite mens rea as to the illicit nature of the distributed

 substance. 7 Civ. Doc. 8 at 4. At Ground Four, Hayes asserts that he received

 ineffective assistance of counsel where counsel failed to raise the arguments related

 to his unlawful sentence imposed under section 924(e). Id. at 8.

        Hayes cannot obtain review of his substantive argument (Ground One) or the

 related ineffective-assistance claim (Ground Four) because this Court and the

 Eleventh Circuit have previously considered and rejected this challenge to his armed-

 career-criminal designation. See Doc. 56 at 7–9 (ACCA mens rea challenge overruled,

 Court bound by prior precedent); Hayes, 779 F. App’x at 577–578 (same). A matter

 that has previously been decided adversely to a defendant on direct appeal, cannot be

 re-litigated in a collateral attack under section 2255. See Nyhuis, 211 F.3d at 1343




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  As also expressed in Ground One, subparagraph (a): “The Rule of Lenity requires that Petitioner’s
 unlawful ACCA sentence be vacated, for the reasons stated above.”


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 (quoting Natelli, 553 F.2d at 7); see also Stoufflet, 757 F.3d at 1240–42; Olmstead, 55

 F.3d at 319.

        Furthermore, simply labeling his issue as “ineffective assistance of counsel” in

 Ground Four does not permit Hayes to relitigate the previously rejected claim in

 Ground One. A movant cannot evade a prior-resolution bar by recharacterizing his

 claim as a different legal theory. Nyhuis, 211 F.3d at 1343 (recharacterization of

 rejected claim does not merit rehearing); Boeckenhaupt v. United States, 537 F.2d 1182,

 1183 (4th Cir. 1976) (stating that a defendant may not “recast, under the guise of a

 collateral attack, questions fully considered by this court [on direct appeal]”).

        In any event, Hayes’s arguments lack merit. Hayes claims his prior drug

 convictions do not qualify as ACCA predicate offenses because the Florida statute

 under which he was convicted does not require knowledge of the illicit nature of a

 substance, making the ACCA inapplicable. Civ. Doc. 1 at 8–10. Binding precedent

 foreclosed this challenge at sentencing and on appeal. “No element of mens rea with

 respect to the illicit nature of the controlled substance is expressed or implied” by

 ACCA’s serious-drug-offense definition. United States v. Smith, 775 F.3d 1262, 1267

 (11th Cir. 2014); see also United States v. Phillips, 834 F.3d 1176, 1184 (11th Cir. 2016).

        As Hayes has acknowledged, Civ. Doc. 1 at 9, the Supreme Court

 unanimously affirmed Smith’s holding that a violation of Fla. Stat. § 893.13

 constituted a “serious drug offense” under the ACCA. Shular v. United States, 140 S.

 Ct. 779, 782 (2020). The Supreme Court reasoned that the ACCA did not require

 that the state offense match the elements of generic federal offenses; rather, a state

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 offense need only involve the conduct specified in the federal statute—namely,

 “manufacturing, distributing, or possessing with intent to manufacture or distribute,

 a controlled substance,” in the case of the ACCA. Id. (quotations omitted).

       As Hayes does here, Shular urged the Supreme Court to apply the rule of

 lenity in determining whether § 924(e)(2)(A)(ii) requires a generic-offense-matching

 analysis. Shular, 140 S. Ct. at 787. The rule of lenity “applies only when, after

 consulting traditional canons of statutory construction, we are left with an

 ambiguous statute.” United States v. Shabani, 115 S.Ct. 382, 386 (1994). But the

 Supreme Court was left with no ambiguity for the rule to resolve. “Section

 924(e)(2)(A)(ii)’s text and context leave no doubt that it refers to an offense involving

 the conduct of manufacturing, distributing, or possessing with intent to manufacture

 or distribute, a controlled substance. Because those terms describe conduct and do

 not name offenses, a court applying § 924(e)(2)(A)(ii) need not delineate the elements

 of generic offenses.” Shular, 140 S. Ct. at 787 (quotations omitted). Simply put, the

 rule of lenity is inapplicable, Shular reaffirmed Smith, and Hayes’s previously

 litigated ACCA challenge remains barred by precedent.

       Hayes’s ineffective-assistance allegation in Ground Four also fails. Under

 Strickland, an unsuccessful argument does not render counsel’s representation

 ineffective. Here, it is the opposite. Hayes’s counsel challenged at sentencing and on

 appeal whether Hayes’s convictions were valid ACCA predicates to preserve the

 challenges. Civ. Doc. 3-1. Hayes has failed to demonstrate “a reasonable probability

 that, but for counsel’s unprofessional errors, the result of the proceeding would have

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 been different.” Strickland, 104 S.Ct. at 2068.

       B.    Grounds Two and Three: Both Grounds are untimely; Prior resolution
             bars Ground Two; Hayes’s claim at Ground Three is procedurally
             defaulted; Both claims lack merit.

       In new Ground Two, Hayes argues that he is innocent of the sentence

 imposed under 18 U.S.C. § 924(e) because he does not have “at least three prior

 convictions for ‘serious drug offenses’ and/or ‘violent felonies,’ committed on

 occasions different from one another,” per Wooden. Civ. Doc. 8 at 5-6. Hayes claims

 in Ground Three that, as clarified by Wooden, Due Process and the rule of lenity

 demand that his sentence be vacated, asserting that the “occasion[s] clause” is

 unconstitutionally vague. Id. at 6-7. Hayes is off base.

       In Wooden, the Supreme Court reviewed a particular factual scenario in which

 the defendant had engaged in a one-after-another-after-another burglary of ten units

 in a single storage facility in a single evening but had been subjected to the enhanced

 criminal penalties under the ACCA due to the number of resulting convictions.

 Wooden, 142 S.Ct. at *1067-1069. The Court held that Wooden’s prior convictions

 associated with the multiple burglary counts were not offenses on “different

 occasions” within the meaning of the ACCA. Id. at *1074. Of course, the factual

 scenario underlying Wooden bears no resemblance to Hayes’s situation. Hayes’s

 qualifying convictions stem from crimes committed by him in different years—

 September 10, 2002, February 19, 2004, and November 7, 2006. See Shepard

 documents in Attachment One. Ground Two is without merit.



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           Notwithstanding, in addressing Grounds Two and Three, this Court need not

 consider the inapplicability of Wooden to Hayes’s case as his claims are untimely,

 barred by prior resolution, and/or procedurally defaulted. As noted above, Hayes’s

 conviction became final on March 2, 2020. The operative date for determining when

 Hayes first raised Grounds Two and Three is May 3, 2022, 8 the date his amended

 motion was placed into the prison’s official mail system, more than a year after the

 expiration of the period to raise the claims. Further, none of the exceptions listed in

 § 2255(f)(2)–(f)(4) apply, 9 and Fed. R. Civ. P. 15(c) is unavailable to aid Hayes’s

 attempt to include the two new claims for collateral review. To be properly raised in

 an amended 2255 motion under Rule 15(c), Grounds Two and Three would have to

 tie back to claims timely raised in the original motion. See Mayle v. Felix, 125 S.Ct.

 2562, 2563-2564 (2005). They do not. Both claims are therefore untimely.

           Furthermore, Ground Two in the amended motion is barred by prior

 resolution at the Eleventh Circuit. Hayes challenged on appeal this Court’s reliance

 on its own findings that Hayes’s three predicate ACCA violations occurred on

 different occasions. Hayes, 779 F. App’x at 575. In discussing Hayes’s on-different-

 occasions challenge, the Eleventh Circuit explained that the Court was permitted to

 make such findings using Shepard documents. Id. at 576–577. Notably, the Eleventh

 Circuit stated: “the Shepard documents in the record, including the judgments of


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     Indeed, even his motion to amend was signed and filed in late March 2022. Civ. Doc. 6.
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  28 U.S.C. § 2255(f)(3) is inapplicable. Wooden was not made retroactively applicable to cases on
 collateral review.


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 Hayes’s prior convictions, support the district court’s conclusion that the predicate

 offenses were committed on different occasions. Accordingly, we affirm.” Id. at 577.

 That issue has been decided adversely to Hayes on direct appeal. It cannot now be

 relitigated in a collateral challenge via section 2255. See Nyhuis, 211 F.3d at 1343

 (quoting Natelli, 553 F.2d at 7); see also Stoufflet, 757 F.3d at 1240–42; Olmstead, 55

 F.3d at 319 (section 2255 motion is “neither a recapitulation of nor a substitute” for

 direct appeal; absent changed circumstances of fact or law, court will not reconsider

 an issue already decided on direct appeal). 10

        Hayes’s claim at Ground Three—Due Process and the rule of lenity demands

 that his sentence be vacated because the “occasion[s] clause” is unconstitutionally

 vague—has been procedurally defaulted by Hayes, and he is therefore barred from

 raising it on collateral review. See Bousley, 118 S.Ct. at 1610-1612; McCoy, 266 F.3d at

 1258. A movant, such as Hayes, who has procedurally defaulted a claim by failing to

 raise it in an earlier proceeding bears the burden of demonstrating either cause and

 actual prejudice or actual innocence before obtaining review. Bousley, 118 S.Ct. at

 1611–1612; see also McKay, 657 F.3d at 1196. To show cause why he did not timely

 raise the claims, Hayes must demonstrate “some external impediment” that

 prevented counsel from constructing or raising the claim. Hayes has not made (and




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   As explained above, “a collateral challenge may not do service for an appeal.” Frady, 102 S.Ct. at
 1593. If, for any reason, the Court determines that Hayes has not previously raised an on-different-
 occasions challenge, Hayes has procedurally defaulted the claim and is barred from consideration on
 collateral review, and he offers nothing to surmount his burden of demonstrating either cause or
 actual prejudice or actual innocence to merit review. See Bousley, 118 S.Ct. at 1610–1612.


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 cannot make) such a showing in this case, as no such external impediment existed.

        Moreover, Hayes has not demonstrated that the procedural default was caused

 by constitutionally ineffective assistance of counsel under Strickland. See Strickland,

 104 S.Ct. at 2077. Strickland sets a “high bar” for such ineffective assistance claims.

 Harrington, 562 U.S. at 105. Hayes would need to demonstrate that his counsel

 committed “errors so serious that counsel was not functioning as the ‘counsel’

 guaranteed … by the Sixth Amendment.” Strickland, 104 S.Ct. at 2077. Hayes has

 offered nothing in this regard, nor could he given his counsel’s diligent performance,

 discussed above. 11

        In addition, Hayes’s claim in Ground Three that the rule of lenity demands

 that his ACCA sentence be vacated is also without merit. The rule of lenity “applies

 only when, after consulting traditional canons of statutory construction, [the Court

 is] left with an ambiguous statute.” Shabani, 115 S.Ct. 382. Stated differently, the rule

 can apply where a federal criminal statute is grievously ambiguous making it

 appropriate to interpret the statute in a criminal defendant’s favor. Wooden, 142 S.Ct.

 at *1075 (citing Ocasio v. United States, 136 S.Ct. 1423). The rule, however, “does not

 apply when a law merely contains some ambiguity or is difficult to decipher.” Id. The

 concurring opinions in Wooden explored the rule of lenity in the context of the

 ACCA and the language “on occasions different from one another” found in section



 11
    Should Hayes’s claim at Ground Four—purported ineffective assistance of counsel—somehow be
 considered timely and applicable to (procedurally defaulted) Ground Three, the above makes clear
 that Hayes has not met his burden to establish the claim.


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 924(e). See, e.g., Id. at *1075–1087. That discussion makes clear that the rule of lenity

 is wholly inapplicable here, and Hayes had fair notice concerning the law, such that

 the void-for-vagueness doctrine is also unavailable. See, e.g., Skilling v. United States,

 130 S.Ct. 2896, 2933 (2010).

                United States v. Jackson

        This Court directed the United States to address whether Jackson, a recent

 Eleventh Circuit opinion, supports a claim in Hayes’s amended motion. Doc. 11 at

 2. It does not.

        On June 10, 2022, the Eleventh Circuit held in Jackson that the defendant’s

 1998 and 2004 cocaine convictions, under Fla. Stat. 893.13, do not count as “serious

 drug offenses” under the ACCA. The Court determined that such was the case

 because, when Jackson committed his section 922(g) offense (in September 2017),

 the definition of cocaine in the federal controlled-substance schedule was narrower

 than Florida’s had been when Jackson committed his Florida cocaine offenses. 12

 Jackson, 36 F.4th 1294. The Eleventh Circuit held that, as to 18 U.S.C. § 922(g)

 offenses committed after September 2015, Florida convictions for cocaine offenses

 committed before July 2017 do not qualify as convictions for “serious drug offenses”

 under the ACCA because the Florida drug schedule included ioflupane and the

 federal schedule did not.



 12
   One form of cocaine, ioflupane, was removed from the federal schedule in September 2015, but it
 remained in the Florida scheduled until July 2017.



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           Notwithstanding, for the reasons discussed above concerning Grounds Two

 and Three, a claim under Jackson, raised for the first time by Hayes at this juncture

 on collateral review, would be untimely. None of the exceptions listed in

 § 2255(f)(2)–(f)(4) apply, 13 and Fed. R. Civ. P. 15(c) is unavailable. Further, Hayes is

 procedurally defaulted from raising a claim under Jackson, and he has offered nothing

 to surmount his heavy burden to demonstrate why he should be permitted to bring

 such a claim at this late date.

           Nonetheless, the United States recognizes that the holding in Jackson means

 that prior cocaine convictions may no longer qualify as ACCA predicates. Jackson’s

 holding will inevitably affect a large number of cases within the Eleventh Circuit,

 which logically increases the likelihood of en banc consideration. Indeed, per the

 appellate court docket, the Eleventh Circuit, on June 13, 2022, withheld the mandate

 in Jackson and has subsequently extended to August 1 its deadline to accept a petition

 for rehearing en banc. Further, on July 1, 2022, the States of Alabama, Florida, and

 Georgia filed an amicus brief in Jackson, urging the Eleventh Circuit to rehear that

 appeal either as a panel or en banc. See Attachment Two.

           If, for any reason, the Court deems it appropriate in this case to consider a

 claim under Jackson (which it should not, given the claim is untimely and

 procedurally defaulted), the United States respectfully requests that the Court stay

 such consideration until after the Eleventh Circuit issues a mandate in that case.



 13
      Jackson is an Eleventh Circuit decision, so 28 U.S.C. § 2255(f)(3) is inapplicable.


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 That course would conserve resources should either the Jackson panel or the Eleventh

 Circuit sitting en banc vacate Jackson and issue a new opinion.

       C.     Need for an evidentiary hearing

       For all of the reasons set forth above, Hayes unsupported claims fall well short

 of meeting his burden to establish a need for an evidentiary hearing on an ineffective-

 assistance claim, see Birt v. Montgomery, 725 F.2d 587, 591 (11th Cir. 1984) (en banc).

 Civ. Doc. 3 at 10-11. Accordingly, no hearing is required when the record establishes

 that a section 2255 claim lacks merit, see United States v. Lagrone, 727 F.2d 1037, 1038

 (11th Cir. 1984), or has been defaulted, see McCleskey v. Zant, 111 S.Ct. 1454, 1468

 (1991). Hayes has not established the need for an evidentiary hearing because the

 issues he raises are untimely, waived, procedurally barred, and his arguments are

 based on faulty legal reasoning.

    IV. CONCLUSION

       This Court should deny Hayes’s motion to vacate. Prior resolution bars

 Hayes’s claim in Ground One. Grounds Two and Three are both untimely, Ground

 Two is barred by prior resolution, and Ground Three is procedurally defaulted.

 Further, all of the claims lack merit and fail, even when recast in Ground Four as a

 catch-all ineffective assistance claim because Hayes cannot establish either Strickland

 prong. See Maharaj, 432 F.3d at 1319.

       THEREFORE, the United States respectfully requests that this Court deny

 Hayes’s amended section 2255 motion.




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                                   Respectfully submitted,

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                             CERTIFICATE OF SERVICE

       I hereby certify that on July 11, 2022 I electronically filed the foregoing with the

 Clerk of the Court by using the CM/ECF system, a true and correct copy of the

 foregoing document and the notice of electronic filing were sent by United States

 Mail to the following non-CM/ECF participant:

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                                                  /s/ Jay G. Trezevant
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